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                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

In re Orly Genger,
                                                         Chapter 7
                     Debtor.
                                                         Case No. 19-13895-JLG


DALIA GENGER,
                           Plaintiff,                     Adv. P. No. 20-01010

-against-

ORLY GENGER, MICHAEL BOWEN, ARIE
GENGER, ARNOLD BROSER, DAVID BROSER,
ERIC HERSCHMANN, THE GENGER
LITIGATION TRUST, ADBG LLC, TEDCO INC.,
and DEBORAH PIAZZA as chapter 7 trustee,

                            Defendants.


                          NOTICE OF WITHDRAWAL OF MOTION


       PLEASE TAKE NOTICE that defendants Eric Herschmann (“Herschmann”) and

Michael Bowen (“Bowen,” and with Herschmann, “Movants”) were notified by the Court that

the document entitled Joinder in Motion to Dismiss Amended Complaint (ECF No. 14) was

erroneously filed as a separate motion instead of a “joinder” in existing motions to dismiss, and

as directed by the Court Clerk, Movants are accordingly withdrawing that filing in order to refile

it as a “joinder” to the pending motions to dismiss.

       Accordingly, Movants respectfully request the Court terminate the Motion filed at ECF

No. 14 and treat the re-filed document as their joinder in the motions to dismiss which are

pending at ECF Nos. 12 and 16.
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Dated: August 4, 2020
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                                      By:/s/ Michael Paul Bowen
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                                      ERIC HERSCHMANN

                                      By:/s/ Eric Herschmann




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